Case 1:16-cv-00840-EJD
     Case 1:16-cv-00840-EJD
                        Document
                            Document
                                 41-2 *SEALED*
                                       43-2 Filed 11/01/18
                                                  Filed 11/01/18
                                                            Page 1
                                                                 Page
                                                                   of 351 of 35



                                                      U.S. Department of Justice

                                                      Civil Division          REDACTED VERSION
  SB                                                                     Telephone: (202) 307-0262
  154-16-840C                                                             Facsimile: (202) 307-0345

                                                      Washington, DC 20530



                                                      October 17, 2018

  VIA EMAIL

  Adam Raviv
  Wilmer Cutler Pickering Hale and Dorr LLP
  1875 Pennsylvania Avenue, NW
  Washington, DC 20006
  adam.raviv@wilmerhale.com

         Re:    Bitmanagement Software GmbH v. United States,
                United States Court of Federal Claims No. 16-840 C

  Dear Adam:

          Thank you for speaking with me this morning. As we discussed, I welcome your prompt
  attention to three issues.

          First, Bitmanagement did not 'include electronic copies of proposed exhibits P050 and
  P230 with its disclosures on September 28, 2018. I appreciate that you quickly sent me those
  exhibits by email after our call.

           Second, in light of the position taken by Bitmanagement in its pretrial Proposed Finding
  of Fact No. 46, I requested that Bitmanagement immediately produce the agreements cited in the
  proposed finding and amend and supplement its response to the government's Request for
  Production No. 22. In the request for production, the government requested that Bitmanagement
  produce "[a]ll documents and ESI relating to licenses for software between Plaintiff and [12
  identified organizations]." RFP 22. Bitmanagement objected, asserting that "software programs
  other than BS Contact Geo are not relevant to the issues in this dispute," and expressly limiting
  its response to BS Contact Geo. Bitnianagement did not produce any license agreements for
  "software programs other than BS Contact Geo" with the 12 organizations. In its proposed
  finding of fact, however, Bitmanagement has now taken the directly contradictory position that
  its licenses of software programs other than BS Contact Geo are relevant and support its claims.
  Bitmanagement is obligated to produce the requested and relied upon information pursuant to
  RCFC 26(a)(l)(A)(ii), RCFC 26(e), and RCFC 34. Accordingly, I request that Bitmanagement
  immediately produce all license agreements with respect to the 12 organizations identified in
  Request for Production No. 22 and the five organizations identified in Proposed Finding of Fact




                                                A1
Case 1:16-cv-00840-EJD
     Case 1:16-cv-00840-EJD
                        Document
                            Document
                                 41-2 *SEALED*
                                       43-2 Filed 11/01/18
                                                  Filed 11/01/18
                                                            Page 2
                                                                 Page
                                                                   of 352 of 35



                                                 -2-

  No. 46. 1 I am happy to meet and confer with you again about this issue, and propose that we
  attempt to fully resolve this issue without the Court's intervention no later than October 31,
  2018.

          Third, since some of the exhibits being considered by the Government are in German, we
  would like to agree to a specific date for the parties to exchange translations for the respective
  exhibits they propose. As discussed, I believe that a mid-December date would allow sufficient
  time for the parties to obtain translations and review the exchanged translations prior to the
  meeting of counsel in February 2019.

         If you have any questions, please do not hesitate to call me at the above number.

                                                       Very truly yours,


                                                       ~P--
                                                    SCOTT BOLDEN
                                                     Deputy Director
                                                 Commercial Litigation Branch
                                                      Civil Division

  cc:    Brent Gurney; Allison Trzop; Leon Kenworthy; Michael Carpenter (via email)




  1
    As you pointed out, some documents for some of the organizations identified in the proposed
  finding of fact were produced by Planet 9 and Bitmanagement, but this limited production does
  not appear to be comprehensive and does not appear to incorporate any signed agreements.




                                                  A2
Case 1:16-cv-00840-EJD
     Case 1:16-cv-00840-EJD
                        Document
                            Document
                                 41-2 *SEALED*
                                       43-2 Filed 11/01/18
                                                  Filed 11/01/18
                                                            Page 3
                                                                 Page
                                                                   of 353 of 35




     October 30, 2018                                                                          Adam Raviv
                                                                                           +1 202 663 6904 (t)
     VIA ELECTRONIC MAIL                                                                   +1 202 663 6363 (f)
                                                                                   adam.raviv@wilmerhale.com


     Scott Bolden
     U.S. Department of Justice
     Civil Division
     Washington, DC 20530

     Re: Bitmanagement Software GmbH v. United States, No. 16-840 C

     Dear Scott:

     I write in response to your letter dated October 17, 2018.

     On the second issue raised in your letter, regarding Bitmanagement’s Preliminary Proposed
     Finding of Fact No. 46, the government’s premise that an irrelevant and overbroad discovery
     request is rendered relevant by this Proposed Finding of Fact is misplaced. Proposed Finding of
     Fact No. 46 simply lists customers that have purchased licenses for Bitmanagement software
     other than BS Contact Geo. It says nothing about the content or terms of these licenses, which is
     what the government sought in its overbroad Request for Production No. 22. At any rate,
     Bitmanagement is prepared to delete Preliminary Proposed Finding of Fact No. 46 from its
     Preliminary Proposed Findings of Fact and Conclusions of Law.

     On the third issue raised in your letter, I agree that a mid-December date for exchange of
     translated trial exhibits would be appropriate. I propose that each party send counsel for the
     other party translations of their respective proposed trial exhibits on or before December 14,
     2018.

     Sincerely yours,




     Adam Raviv




                                                A3
Case 1:16-cv-00840-EJD
     Case 1:16-cv-00840-EJD
                        Document
                            Document
                                 41-2 *SEALED*
                                       43-2 Filed 11/01/18
                                                  Filed 11/01/18
                                                            Page 4
                                                                 Page
                                                                   of 354 of 35




                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS



  BITMANAGEMENT SOFTWARE GMBH,

                           Plaintiff,
                                                            No. 16-840 C
                   v.
                                                            Senior Judge Edward J. Damich
           THE UNITED STATES,

                           Defendant.


                 PLAINTIFF'S OBJECTIONS AND RESPONSES
       TO DEFENDANT'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS

          Plaintiff Bitmanagement Software GmbH ("Plaintiff'), by and through undersigned

  counsel, hereby objects and responds to the Defendant's First Set of Requests for Production of

  Documents and Things to Plaintiff (Nos. 1-28), dated January 23, 2017.

                 GENERAL OBJECTIONS TO DEFENDANT'S FIRST SET OF
               REQUESTS FOR PRODUCTION OF DOCUMENTS AND THINGS

          1.     Plaintiffs General Objections, as set forth herein, are continuing objections and

  responses to each specific request for production that follows, whether or not the General

  Objections are referenced in the specific request for production. Plaintiffs objections and

  responses herein shall not waive or prejudice any further objections Plaintiff may later assert.

  The failure to list a particular general objection in a given response should not be construed as a

  waiver of that objection.

         2.      Plaintiff objects to each of Defendant's requests for production to the extent that

  they seek documents protected from disclosure by any privilege or immunity, including the

  attorney-client privilege, the attorney work product doctrine, or any other privilege, immunity,



  PROTECTED INFORMATION TO BE DISCLOSED ONLY IN ACCORDANCE WITH THE
       UNITED STATES COURT OF FEDERAL CLAIMS PROTECTIVE ORDER

                                                  - 1-



                                                  A4
Case 1:16-cv-00840-EJD
     Case 1:16-cv-00840-EJD
                        Document
                            Document
                                 41-2 *SEALED*
                                       43-2 Filed 11/01/18
                                                  Filed 11/01/18
                                                            Page 5
                                                                 Page
                                                                   of 355 of 35




  principle, doctrine, or rule of confidentiality. Plaintiff further objects to the extent that

  Defendant' s requests seek documents or things prepared in anticipation, or during the course of,

  any litigation, or which otherwise constitute or disclose the mental impressions, conclusions,

  opinions, or legal theories of any attorney for Plaintiff. If any protected information or material

  is disclosed, such disclosure is not intentional and shall not be deemed a waiver of any privilege

  or protection. Any inadvertent disclosure will be governed by Rules of the U.S. Court of Federal

  Claims ("RCFC") 26(b)(5)(B), as the parties agreed in the Joint Preliminary Status Report dated

  January 6, 2017 (Dkt. 12).

          3.     Plaintiff further objects to the extent that a request seeks confidential, proprietary,

  or personal information, the disclosure of which is not permitted by reason of contract, trade-

  secret protection; data privacy laws of the United States, the European Union, or Germany; or

  any other binding legal obligation.

         4.      Plaintiff objects to each definition, instruction, and request for production to the

  extent that it seeks to impose obligations on Plaintiff in excess of those set forth in the Federal

  Rules of Civil Procedure and the Rules of the U.S . Court of Federal Claims.

         5.      Plaintiff objects to each of Defendant' s requests for production to the extent that it

  seeks documents that Plaintiff "alleges" or "asserts" support a particular claim, defense, fact,

  argument, or legal conclusion on the ground that contention-type requests are inappropriate at

  this stage of discovery because, among other reasons, Defendant has yet to disclose the majority

  of its documents, and thus some responsive information and documents remain exclusively

  within the possession, custody, or control of Defendant. No response shall be construed as

  providing a legal conclusion.



  PROTECTED INFORMATION TO BE DIS CLOSED ONLY IN ACCORDANCE WITH THE
       UNITED STATES COURT OF FEDERAL CLAIMS PROTECTIVE ORDER

                                                   -2-



                                                   A5
Case 1:16-cv-00840-EJD
     Case 1:16-cv-00840-EJD
                        Document
                            Document
                                 41-2 *SEALED*
                                       43-2 Filed 11/01/18
                                                  Filed 11/01/18
                                                            Page 6
                                                                 Page
                                                                   of 356 of 35




          6.      Plaintiff objects to each of Defendant' s requests for production insofar as it seeks

  documents that are unreasonably cumulative or duplicative, already in the possession of

  Defendant, primarily or exclusively within Defendant's knowledge or control, or obtainable from

  some other source that is less burdensome or less expensive. Plaintiff objects to Defendant's

  requests for production to the extent they seek documents beyond those in the possession,

  custody, or control of Plaintiff.

          7.      Plaintiff objects to each of Defendant's requests for production to the extent that it

  is unclear, ambiguous, overly broad, or unduly burdensome.

          8.      Plaintiff objects to each of Defendant' s requests for production requesting "all,"

  "each," or "any" of the referenced documents on the grounds that such requests are overbroad

  and unduly burdensome, seek irrelevant information, and seek to impose obligations beyond

  those imposed by law. Plaintiff further objects to the extent Defendant's requests for production

  request information that Plaintiff cannot locate and copy without unreasonable expense of

  financial and/or personnel resources, or that will create a significant delay that would be

  disproportionate to the probative value or relevance of the material sought. Plaintiff will

  construe the terms of all requests for production to request that Plaintiff use reasonable diligence

  to locate responsive non-privileged documents, based on inquiry of those persons who may

  reasonably be expected to possess such documents and based on examination of those sources

  that may reasonably be expected to yield such documents.

          9.      Plaintiff objects to each of Defendant's requests to the extent that it seeks

  documents or things that are not relevant to the issues in this dispute or to the extent it is not

  reasonably calculated to lead to the discovery of admissible evidence. To the extent Plaintiff



  PROTECTED INFORMATION TO BE DISCLOSED ONLY IN ACCORDANCE WITH THE
       UNITED STATES COURT OF FEDERAL CLAIMS PROTECTIVE ORDER

                                                   -3-



                                                    A6
Case 1:16-cv-00840-EJD
     Case 1:16-cv-00840-EJD
                        Document
                            Document
                                 41-2 *SEALED*
                                       43-2 Filed 11/01/18
                                                  Filed 11/01/18
                                                            Page 7
                                                                 Page
                                                                   of 357 of 35




  responds to these requests for production, it does not waive Plaintiffs foregoing objections nor

  does it concede that any documents requested or provided in response thereto are relevant to any

  claim or defense of a party in the pending action or admissible in the United States Court of

  Federal Claims. Plaintiff expressly reserves:

            a.    the right to object, on the grounds of competency, relevance, materiality,
                  privilege, or any other applicable ground, to the use of responses provided to this
                  request for production or the subject matter thereof, in any subsequent proceeding
                  in, or the hearing of, this or any other action;

            b.    the right to object on any ground to other document requests, interrogatories, or
                  other discovery proceedings involving or relating to the subject matter of the
                  request for production; and

            c.    the right to supplement its responses should further investigation or discovery
                  disclose additional information.

                           GENERAL OBJECTIONS TO DEFINITIONS

            10.   Plaintiff objects to the definition of the term "Communication" to the extent that

  Defendant's definition purports to impose burdens and requirements that exceed or are

  inconsistent with the requirements of the Court's Rules and Orders. Defendant's definition

  defines "Communication" as any non-written exchange of information, but RCFC 34 limits

  requests to documents, ESI, and tangible things. Accordingly, Plaintiff will interpret requests for

  "Communications" to mean contacts that have been recorded in documents, ESI, and tangible

  things.

            11.   Plaintiff objects to the definition of the phrase "relating to" on the grounds that

  the terms "reflecting," "pertaining to," "alluding to," and "associated with," are vague,

  ambiguous, and capable of inconsistent interpretations. Plaintiff further objects to this definition

  on the grounds that it is overbroad and unduly burdensome, and not reasonably calculated to lead

  to the discovery of admissible evidence.

   PROTECTED INFORMATION TO BE DISCLOSED ONLY IN ACCORDANCE WITH THE
        UNITED STATES COURT OF FEDERAL CLAIMS PROTECTIVE ORDER

                                                   -4-



                                                   A7
Case 1:16-cv-00840-EJD
     Case 1:16-cv-00840-EJD
                        Document
                            Document
                                 41-2 *SEALED*
                                       43-2 Filed 11/01/18
                                                  Filed 11/01/18
                                                            Page 8
                                                                 Page
                                                                   of 358 of 35




          12.     Plaintiff objects to the definition of the phrase "relationship with" on the grounds

  that the phrase "regarding any subject matter" is overbroad, unduly burdensome, and not

  reasonably calculated to lead to the discovery of admissible evidence. Plaintiff will interpret the

  phrase "relationship with" to include only the subject matter of the dispute.

                         GENERAL OBJECTIONS TO INSTRUCTIONS

          13.    Plaintiff objects to Instruction Nos. 3 and 6 on the grounds that they are overly

  broad, unduly burdensome, and not reasonably calculated to lead to the discovery of admissible

  evidence. Plaintiff further object to the instructions to the extent that they seek the production of

  documents not in the possession, custody, or control of Plaintiff. In connection with Plaintiffs

  responses to these requests for production and in accord with its legal rights and obligations,

  Plaintiff will respond to Defendant' requests for production based only upon documents within

  its possession, custody, or control.

                  SPECIFIC OBJECTIONS AND RESPONSES
       TO DEFENDANT'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS

         Plaintiff incorporates by reference its General Objections in response to each of

  Defendant's requests for production. Plaintiff also incorporates by reference its Objections to

  Instructions to each of Defendant' s requests for production. Plaintiff states that the following

  responses are true and complete to the best of its knowledge at this time, while reserving the

  right to identify additional facts or documents, amend or supplement any answer, or raise

  additional objections during the course of these proceedings.

         REQUESTN0.1:

         All documents and ESI relied upon, or relating to those relied upon, by Plaintiff to
  provide a factual basis for the allegations in the Complaint, including, but not limited to,
  Plaintiffs allegations in paragraphs 17-19, 22-24, and 26-27 of the Complaint.


  PROTECTED INFORMATION TO BE DISCLOSED ONLY IN ACCORDANCE WITH THE
       UNITED STATES COURT OF FEDERAL CLAIMS PROTECTIVE ORDER

                                                  -5-



                                                  A8
Case 1:16-cv-00840-EJD
     Case 1:16-cv-00840-EJD
                        Document
                            Document
                                 41-2 *SEALED*
                                       43-2 Filed 11/01/18
                                                  Filed 11/01/18
                                                            Page 9
                                                                 Page
                                                                   of 359 of 35




          RESPONSE TO REQUEST NO. 1:

          Plaintiff objects to Request No. 1 to the extent that the documents sought are already in

  the possession, custody, or control of Defendant. Plaintiff further objects to Request No. 1 to the

  extent that it requests documents that are publicly available or obtainable from some other source

  that is less burdensome or less expensive. Plaintiff further objects to Request No. 1 to the extent

  that it seeks documents that are privileged or otherwise protected from discovery by the attorney-

  client privilege, work product doctrine, or other applicable privilege or immunity.

          Subject to and without waiving Plaintiff's foregoing general and specific objections,

  Plaintiff will exercise reasonable diligence to locate and produce any non-privileged documents

  within its possession, custody, or control.

         REQUEST NO. 2:

          All documents and ESI relating to Plaintiffs responses to any of Defendant's First Set of
  Interrogatories to Plaintiff, and all documents which support your answers to any of Defendant's
  First Set of Interrogatories to Plaintiff.

         RESPONSE TO REQUEST NO. 2:

         Plaintiff objects to Request No. 2 to the extent that the documents sought are already in

  the possession, custody, or control of Defendant. Plaintiff further objects to Request No. 2 to the

  extent that it requests documents that are publicly available or obtainable from some other source

  that is less burdensome or less expensive. Plaintiff further objects to Request No. 2 to the extent

  that it seeks documents that are privileged or otherwise protected from discovery by the attorney-

  client privilege, work product doctrine, or other applicable privilege or immunity. Plaintiff

  further objects to Request No. 2 to the extent it seeks documents that are unreasonably

  cumulative or duplicative.




  PROTECTED INFORMATION TO BE DISCLOSED ONLY IN ACCORDANCE WITH THE
       UNITED STATES COURT OF FEDERAL CLAIMS PROTECTIVE ORDER

                                                 -6-



                                                  A9
Case 1:16-cv-00840-EJD
     Case 1:16-cv-00840-EJD
                        Document
                            Document
                                 41-2 *SEALED*
                                       43-2 Filed 11/01/18
                                                  Filed 11/01/18
                                                            Page 10
                                                                 Page
                                                                    of 35
                                                                       10 of 35




           Subject to and without waiving Plaintiffs foregoing general and specific objections,

   Plaintiff will exercise reasonable diligence to locate and produce any non-privileged documents

   within its possession, custody, or control.

          REQUEST NO. 3:

         The complete source code for any version of BS Contact Geo that Plaintiff claims that the
  Navy infringed.

          RESPONSE TO REQUEST NO. 3:

          Plaintiff objects to Request No. 3 on the grounds that the source code of BS Contact Geo

  is not relevant to the issues in this dispute and it is not reasonably calculated to lead to the

  discovery of admissible evidence. Plaintiff further objects to Request No. 3 on the grounds that

  there is no dispute that the Government made hundreds of thousands of actual copies of BS

  Contact Geo as admitted in Paragraph 4 of Defendant's Answer, dated November 14, 2016.

  Plaintiff further objects to Request No. 3 on the grounds that the complete source code of BS

  Contact Geo is a valuable trade secret, and the Government has not demonstrated or attempted to

  demonstrate that production of the complete source code is necessary to Defendant' s claims or

  defenses. Plaintiff further objects to Request No. 3 on the grounds that producing the

  "complete" source code for "any version" is overbroad, unduly burdensome, and vague.

          REQUEST NO. 4:

         The compiled object code for any version of BS Contact Geo that Plaintiff claims that the
  Navy infringed.

          RESPONSE TO REQUEST NO. 4:

          Plaintiff objects to Request No. 4 on the grounds that the object code of BS Contact Geo

  is not relevant to the issues in this dispute and it is not reasonably calculated to lead to the

  discovery of admissible evidence. Plaintiff further objects to Request No. 4 on the grounds that

   PROTECTED INFORMATION TO BE DISCLOSED ONLY IN ACCORDANCE WITH THE
        UNITED STATES COURT OF FEDERAL CLAIMS PROTECTIVE ORDER

                                                    -7-



                                                   A10
Case 1:16-cv-00840-EJD
     Case 1:16-cv-00840-EJD
                        Document
                            Document
                                 41-2 *SEALED*
                                       43-2 Filed 11/01/18
                                                  Filed 11/01/18
                                                            Page 11
                                                                 Page
                                                                    of 35
                                                                       11 of 35




   there is no dispute that the Government made hundreds of thousands of actual copies of BS

   Contact Geo as admitted in Paragraph 4 of Defendant's Answer, dated November 14, 2016.

   Plaintiff further objects to Request No. 4 on the grounds that the complete object code of BS

   Contact Geo is a valuable trade secret, and the Government has not demonstrated or attempted to

   demonstrate that production of the complete object code is necessary to any of Defendant's

   claims or defenses, or likely to lead to the discovery of any relevant evidence. Plaintiff further

   objects to Request No. 4 on the grounds that producing the "compiled" object code for "any

   version" is overbroad, unduly burdensome, and vague.

          REQUEST NO. 5:

           All documents and ESI that accompanied any version of BS Contact Geo that Plaintiff
   claims that the Navy infringed, including, but not limited to user manuals and end user license
   agreements.

          RESPONSE TO REQUEST NO. 5:

          Plaintiff objects to Request No. 5 on the grounds that the term "accompanied" is

   undefined by Defendant's definitions, is vague, ambiguous, and capable of inconsistent

   interpretations. Plaintiff further objects to Request No. 5 on the grounds that a request for "all"

   such documents and ESI is overbroad and unduly burdensome. Plaintiff further objects to

   Request No. 5 to the extent that the documents sought are not within the possession, custody, or

  control of Plaintiff.

          Subject to and without waiving Plaintiffs foregoing general and specific objections,

  Plaintiff will exercise reasonable diligence to locate and produce any non-privileged documents

  within its possession, custody, or control consisting ofrepresentative user manuals, end user

  license agreements, and other such documents and ESI to the extent Plaintiff regularly sent such

  documents to customers who purchased licenses of BS Contact Geo.

   PROTECTED INFORMATION TO BE DISCLOSED ONLY IN ACCORDANCE WITH THE
        UNITED STATES COURT OF FEDERAL CLAIMS PROTECTIVE ORDER

                                                   -8-



                                                  A11
Case 1:16-cv-00840-EJD
     Case 1:16-cv-00840-EJD
                        Document
                            Document
                                 41-2 *SEALED*
                                       43-2 Filed 11/01/18
                                                  Filed 11/01/18
                                                            Page 12
                                                                 Page
                                                                    of 35
                                                                       12 of 35




          REQUEST NO. 6:

         All documents and ESI relating to copyright registrations for BS Contact Geo, including
   any material created or provided to satisfy any deposit requirements for the registrations.

          RESPONSE TO REQUEST NO. 6:

          Plaintiff objects to Request No. 6 on the grounds that the requests for "all documents and

   ESI relating to" and "any material created or provided" is overbroad and unduly burdensome.

   Plaintiff further objects to Request No. 6 to the extent it seeks documents that are privileged or

   otherwise protected from discovery by the attorney-client privilege, work product doctrine, or

   other applicable privilege or immunity, or seeks information protected as a trade secret. Plaintiff

   further objects to Request No. 6 to the extent that it requests documents that are already in the

  possession, custody, or control of Defendant, or that are publicly available or obtainable from

   some other source that is less burdensome or less expensive.

          Subject to and without waiving Plaintiffs foregoing general and specific objections,

   Plaintiff will exercise reasonable diligence to locate and produce any non-privileged documents

  within its possession, custody, or control that relate to the copyright registrations for BS Contact

  Geo.

          REQUEST NO. 7:

         All documents and ESI relating to Plaintiffs alleged ownership of the copyright in BS
  Contact Geo, including, but not limited to, copyright registration documentation, and
  employment or independent contractor agreements with the creators of BS Contact Geo.

          RESPONSE TO REQUEST NO. 7:

          Plaintiff objects to Request No. 7 on the grounds that the phrase "relating to Plaintiffs

  alleged ownership of the copyright in BS Contact Geo" is vague, ambiguous, overbroad, and

  unduly burdensome. Plaintiff is the creator of BS Contact Geo , and Plaintiff objects to



   PROTECTED INFORMATION TO BE DISCLOSED ONLY IN ACCORDANCE WITH THE
        UNITED STATES COURT OF FEDERAL CLAIMS PROTECTIVE ORDER

                                                   -9-



                                                  A12
Case 1:16-cv-00840-EJD
     Case 1:16-cv-00840-EJD
                        Document
                            Document
                                 41-2 *SEALED*
                                       43-2 Filed 11/01/18
                                                  Filed 11/01/18
                                                            Page 13
                                                                 Page
                                                                    of 35
                                                                       13 of 35




   Defendant' s characterization in Request No. 7 to the extent it alleges that Plaintiff is not the

   creator of BS Contact Geo. Plaintiff further objects to Request No. 7 on the grounds that a

   request for "All documents and ESI" is overbroad and unduly burdensome. Plaintiff further

   objects to Request No. 7 to the extent that it seeks documents that are privileged or otherwise

  protected from discovery by the attorney-client relationship, work product doctrine, or applicable

  privilege or immunity, or protected as a trade secret. Plaintiff further objects to Request No. 7 to

  the extent that it requests documents that are already in the possession, custody, or control of

  Defendant, or are publicly available or obtainable from some other source that is less

  burdensome or less expensive. Plaintiff further objects to Request No. 7 to the extent it is

  duplicative of Request No. 6.

          Subject to and without waiving Plaintiffs foregoing general and specific objections,

  Plaintiff will exercise reasonable diligence to locate and produce any non-privileged documents

  within its possession, custody, or control that relate to Plaintiffs' copyright registration of BS

  Contact Geo.

          REQUEST NO. 8:

         All documents and ESI relating to any assignment of the registered copyrights, whether
  complete or partial, to or from Plaintiff, of (i) ownership rights in or (ii) causes of action arising
  under any of them, including any assignment document itself.

          RESPONSE TO REQUEST NO. 8:

          Plaintiff objects to Request No. 8 on the grounds that a request for " All documents and

  ESI" is overbroad and unduly burdensome. Plaintiff further objects to Request No. 8 to the

  extent that it seeks documents that are privileged or otherwise protected from discovery by the

  attorney-client relationship, work product doctrine, or applicable privilege or immunity. Plaintiff



   PROTECTED INFORMATION TO BE DISCLOSED ONLY IN ACCORDANCE WITH THE
        UNITED STATES COURT OF FEDERAL CLAIMS PROTECTIVE ORDER

                                                   - I0 -



                                                   A13
Case 1:16-cv-00840-EJD
     Case 1:16-cv-00840-EJD
                        Document
                            Document
                                 41-2 *SEALED*
                                       43-2 Filed 11/01/18
                                                  Filed 11/01/18
                                                            Page 14
                                                                 Page
                                                                    of 35
                                                                       14 of 35




   further objects to Request No. 8 to the extent it seeks documents that are not within the

   possession, custody, or control of Plaintiff.

           Subject to and without waiving Plaintiffs foregoing general and specific objections,

   Plaintiff will exercise reasonable diligence to locate and produce any non-privileged documents

   within its possession, custody, or control that relate to an assignment of the registered copyrights

   of BS Contact Geo.

           REQUEST NO. 9:

          All documents and ESI relating to any accusation or charge of infringement of any
   copyright in BS Contact Geo that Plaintiff has ever communicated to another party, including the
   Defendant.

           RESPONSE TO REQUEST NO. 9:

           Plaintiff objects to Request No. 9 on the grounds that a request for "All documents and

   ESI" is overbroad and unduly burdensome. Plaintiff further objects to Request No. 9 on the

   grounds the phrase "relating to any accusation or charge of infringement . .. ever

   communicated" is vague, ambiguous, overbroad, and unduly burdensome. Plaintiff further

   objects to Request No. 9 to the extent that it seeks documents that are privileged or otherwise

   protected from discovery by the attorney-client privilege, work product doctrine, or other

   applicable privilege or immunity. Plaintiff further objects to Request No. 9 to the extent that the

   documents sought are already in the possession, custody, or control of Defendant, or are publicly

   available or obtainable from some other source that is less burdensome or less expensive.

   Plaintiff fmiher objects to Request No. 9 on the grounds that the documents sought are not

   relevant to the issues in this dispute and it is not reasonably calculated to lead to the discovery of

   admissible evidence.



   PROTECTED INFORMATION TO BE DISCLOSED ONLY IN ACCORDANCE WITH THE
        UNITED STA TES COURT OF FEDERAL CLAIMS PROTECTIVE ORDER

                                                   - 11 -



                                                   A14
Case 1:16-cv-00840-EJD
     Case 1:16-cv-00840-EJD
                        Document
                            Document
                                 41-2 *SEALED*
                                       43-2 Filed 11/01/18
                                                  Filed 11/01/18
                                                            Page 15
                                                                 Page
                                                                    of 35
                                                                       15 of 35




          Subject to and without waiving Plaintiffs foregoing general and specific objections,

   Plaintiff will exercise reasonable diligence to locate and produce any non-privileged documents

   within its possession, custody, or control that consist of Plaintiff's written communications to the

  Navy or another party related the infringement of Plaintiff's copyrights of BS Contact Geo.

          REQUEST NO. 10:

           All documents and ESI relating to decision or opinion of Plaintiff to file suit, not to file
  suit, or to delay filing suit against the Defendant for alleged infringement of any copyright in BS
  Contact Geo.

          RESPONSE TO REQUEST NO. 10:

          Plaintiff objects to Request No. 10 on the grounds that it seeks documents that are

  privileged or otherwise protected from discovery by the attorney-client privilege, work product

  doctrine, or other applicable privilege or immunity. Plaintiff further objects to Request No. 10

  on the grounds that a request for "All documents and ESI" is overbroad and unduly burdensome.

  Plaintiff further objects to Request No. 10 on the grounds that the phrase "relating to decision or

  opinion of Plaintiff to file suit," is vague, ambiguous, undefined by Defendant's definitions, and

  capable of inconsistent interpretations. Plaintiff further objects to Request No. 10 on the grounds

  that documents or ESI relating to the decision or opinion of Plaintiff to file suit, not file suit, or

  delay filing suit, is not relevant to the issues in this dispute and it is not reasonably calculated to

  lead to the discovery of admissible evidence.

          REQUEST N0.11:

         All documents and ESI relating to Plaintiff's relationship with any authorized reseller of
  BS Contact Geo (including, but not limited to Planet 9 Studios, Inc. and Synergy Software
  Design), including proposals, invoices, receipts, and all draft and/or final contracts.




   PROTECTED INFORMATION TO BE DISCLOSED ONLY IN ACCORDANCE WITH THE
        UNITED STATES COURT OF FEDERAL CLAIMS PROTECTIVE ORDER

                                                   - 12 -



                                                   A15
Case 1:16-cv-00840-EJD
     Case 1:16-cv-00840-EJD
                        Document
                            Document
                                 41-2 *SEALED*
                                       43-2 Filed 11/01/18
                                                  Filed 11/01/18
                                                            Page 16
                                                                 Page
                                                                    of 35
                                                                       16 of 35




           RESPONSE TO REQUEST NO. 11:

           Plaintiff objects to Request No. 11 on the grounds that a request for "All documents and

   ESI" is overbroad and unduly burdensome. Plaintiff further objects to Request No. 11 on the

   grounds that "authorized reseller" is undefined by Defendant's definitions, vague, ambiguous,

   and capable of inconsistent interpretations. Plaintiff will construe "authorized reseller" to mean

   an entity explicitly authorized by Plaintiff to resell BS Contact Geo to the United States

   Government. Consistent with Plaintiffs General Objections above, Plaintiff will interpret the

   term "relationship with" to include only the subject matter of the parties' dispute.

           Suhject to and without waiving Plaintiffs fo regoing general and specific objections,

   Plaintiff will exercise reasonable diligence to locate and produce any non-privileged proposals,

   invoices, receipts, and draft and final contracts relating to an entity explicitly authorized by

   Plaintiff to resell BS Contact Geo to the United States Government.

          REQUEST NO. 12:

         All documents and ESI relating to the negotiation and performance of work for Contract
  Nos. N00244-08-P-1039, N62583 -12-P-0767, and N39430-15-P-1716, including, but not limited
  to, communications with the Navy, Planet 9 Studios, Inc., and Synergy Software Design.

          RESPONSE TO REQUEST NO. 12:

          Plaintiff objects to Request No. 12 on the grounds that a request for "All documents and

  ESI" is overbroad and unduly burdensome. Plaintiff further objects to Request No. 12 to the

  extent it is duplicative of Request No. 11. Plaintiff further objects to Request No. 12 to the

  extent that it seeks documents that are privileged or otherwise protected from discovery by the

  attorney-client privilege, work product doctrine, or other applicable privilege or immunity, or

  protected as a trade secret. Plaintiff further objects to Request No. 12 to the extent that the




   PROTECTED INFORMATION TO BE DISCLOSED ONLY IN ACCORDANCE WITH THE
        UNITED STATES COURT OF FEDERAL CLAIMS PROTECTIVE ORDER

                                                   - 13 -



                                                   A16
Case 1:16-cv-00840-EJD
     Case 1:16-cv-00840-EJD
                        Document
                            Document
                                 41-2 *SEALED*
                                       43-2 Filed 11/01/18
                                                  Filed 11/01/18
                                                            Page 17
                                                                 Page
                                                                    of 35
                                                                       17 of 35




   documents sought are already in the possession, custody, or control of Defendant, or are publicly

   available or obtainable from some other source that is less burdensome or less expensive.

          Subject to and without waiving Plaintiff's foregoing general and specific objections,

   Plaintiff will exercise reasonable diligence to locate and produce any non-privileged documents

   within its possession, custody, or control consisting of Plaintiff's written communications and

   internal files related to negotiation and performance of work for Contract Nos. N00244-08-P-

   1039, N62583-12-P-0767, and N39430-15 -P-1716.

          REQUEST NO. 13:

           All documents and ESI relating to the sale or license of BS Contact Geo to the Navy,
   including, but not limited to, communications regarding licensing terms or sales terms, and
   licensing or sales term sheets.

          RESPONSE TO REQUEST NO. 13:

          Plaintiff objects to Request No. 13 on the grounds that a request for "All documents and

  ESI" is overbroad and unduly burdensome. Plaintiff further objects to Request No. 13 to the

  extent it is duplicative of Request Nos. 11 and 12. Plaintiff further objects to Request No. 13 to

  the extent that it seeks documents that are privileged or otherwise protected from discovery by

  the attorney-client privilege, work product doctrine, or other applicable privilege or immunity, or

  protected as a trade secret. Plaintiff further objects to Request No. 13 to the extent that the

  documents sought are already in the possession, custody, or control of Defendant, or are publicly

  available or obtainable from some other source that is less burdensome or less expensive.

          Subject to and without waiving Plaintiff's foregoing general and specific objections,

  Plaintiff will exercise reasonable diligence to locate and produce any non-privileged documents

  within its possession, custody, or control consisting of Plaintiff's written communications and

  internal files related to the sale or licensing terms for licenses of BS Contact Geo to the Navy.

   PROTECTED INFORMATION TO BE DISCLOSED ONLY IN ACCORDANCE WITH THE
        UNITED STATES COURT OF FEDERAL CLAIMS PROTECTIVE ORDER

                                                  - 14 -



                                                  A17
Case 1:16-cv-00840-EJD
     Case 1:16-cv-00840-EJD
                        Document
                            Document
                                 41-2 *SEALED*
                                       43-2 Filed 11/01/18
                                                  Filed 11/01/18
                                                            Page 18
                                                                 Page
                                                                    of 35
                                                                       18 of 35




          REQUEST NO. 14:

          All documents and ESI relating to the installation of BS Contact Geo on government
   systems, including Plaintiffs role in such installations, Plaintiffs request for such installations,
   and Plaintiffs knowledge of such installations.

          RESPONSE TO REQUEST NO. 14:

          Plaintiff objects to Request No. 14 on the grounds that a request for "All documents and

  ESI" is overbroad and unduly burdensome. Plaintiff further objects to Request No. 14 to the

  extent that the documents sought are already in the possession, custody, or control of Defendant.

  Plaintiff further objects to Defendant' s characterization in Request No. 14 that Plaintiff had

  requested, had a role, and had knowledge of such installations.

          Subject to and without waiving Plaintiffs foregoing general and specific objections,

  Plaintiff will exercise reasonable diligence to locate and produce any non-privileged documents

  within its possession, custody, or control consisting of Plaintiffs written communications and

  internal files regarding the Navy's installation of BS Contact Geo on government systems.

          REQUEST NO. 15:

         All documents and ESI relating to the uses of BS Contact Geo on government systems,
  including Plaintiffs role in such uses, Plaintiffs request for such uses, and Plaintiffs knowledge
  of such uses.

          RESPONSE TO REQUEST NO. 15:

          Plaintiff objects to Request No. 15 on the grounds that the term "uses" is undefined by

  Defendant's definitions, and is vague, ambiguous, and capable of inconsistent interpretations.

  Plaintiff further objects on the grounds that the request as written is confusing and fails to

  describe the categories of documents requested with reasonable particularity. Plaintiff further

  objects to Request No. 15 on the grounds that a request for "All documents and ESI" is

  overbroad and unduly burdensome. Plaintiff further objects to Request No. 15 to the extent that

   PROTECTED INFORMATION TO BE DISCLOSED ONLY IN ACCORDANCE WITH THE
        UNITED STATES COURT OF FEDERAL CLAIMS PROTECTIVE ORDER

                                                  - 15 -



                                                   A18
Case 1:16-cv-00840-EJD
     Case 1:16-cv-00840-EJD
                        Document
                            Document
                                 41-2 *SEALED*
                                       43-2 Filed 11/01/18
                                                  Filed 11/01/18
                                                            Page 19
                                                                 Page
                                                                    of 35
                                                                       19 of 35




   the documents sought are already in the possession, custody, or control of Defendant, or are

   publicly available or obtainable from some other source that is less burdensome or less

   expensive.

           Subject to and without waiving Plaintiff's foregoing general and specific objections,

   Plaintiff will exercise reasonable diligence to locate and produce any non-privileged documents

   within its possession, custody, or control consisting of Plaintiff's written communications and

   internal files regarding the purposes for which the Navy planned to use or did use BS Contact

   Geo.

          REQUEST NO. 16:

           All documents and ESI relating to any modification of BS Contact Geo to facilitate the
   installation or distribution of such software on Navy computers or networks.

          RESPONSE TO REQUEST NO. 16:

          Plaintiff objects to Request No . 16 on the grounds that a request for "All documents and

   ESI" is overbroad and unduly burdensome. Plaintiff further objects to Request No . 16 to the

   extent that the documents sought are already in the possession, custody, or control of Defendant.

   Plaintiff further objects to Request No. 16 to the extent it seeks documents protected as a trade

   secret. Plaintiff further objects to Request No. 16 to the extent it is duplicative of Request No.

   14.

          Subject to and without waiving Plaintiff's foregoing general and specific objections,

  Plaintiff will exercise reasonable diligence to locate and produce any non-privileged documents

  within its possession, custody, or control consisting of Plaintiff's written communications and

  internal files about modifications of BS Contact Geo to facilitate the Navy' s installation or

  distribution of the software.


   PROTECTED INFORMATION TO BE DISCLOSED ONLY IN ACCORDANCE WITH THE
        UNITED STATES COURT OF FEDERAL CLAIMS PROTECTIVE ORDER

                                                  - 16 -



                                                  A19
Case 1:16-cv-00840-EJD
     Case 1:16-cv-00840-EJD
                        Document
                            Document
                                 41-2 *SEALED*
                                       43-2 Filed 11/01/18
                                                  Filed 11/01/18
                                                            Page 20
                                                                 Page
                                                                    of 35
                                                                       20 of 35




          REQUEST NO. 17:

           All documents and ESI relating to compensation or other money received by Plaintiff
   relating to the Navy' s use of BS Contact Geo.

          RESPONSE TO REQUEST N0.1 7:

          Plaintiff objects to Request No. 17 on the grounds that a request for "All documents and

   ESI" is overbroad and unduly burdensome. Plaintiff further objects to Request No. 17 to the

  extent that the documents sought are already in the possession, custody, or control of Defendant.

          Subject to and without waiving Plaintiff's foregoing general and specific objections,

  Plaintiff will exercise reasonable diligence to locate and produce any non-privileged documents

  within its possession, custody, or control.

          REQUEST NO. 18:

          All correspondence, other documents, or electronically stored information between
  Plaintiff and the Navy.

          RESPONSE TO REQUEST NO. 18:

          Plaintiff objects to Request No. 18 on the grounds that the phrase "information between

  Plaintiff and the Navy" is vague, ambiguous, overbroad, and unduly burdensome. Plaintiff will

  construe "information between Plaintiff and the Navy" to mean written communications

  exchanged between the Plaintiff and the Navy. Plaintiff further objects to Request No. 18 on the

  grounds that a request for "All correspondence, other documents, or electronically stored

  information between Plaintiff and the Navy" is overbroad, unduly burdensome, and not

  calculated to lead the discovery of admissible evidence. Plaintiff further objects to Request No.

  18 to the extent that the documents sought are already in the possession, custody, or control of

  Defendant. Plaintiff further objects to Request No. 18 to the extent it is duplicative and

  cumulative of Request Nos. 1, 2, 9, 12, 13, 14, 15, 16, and 17.

   PROTECTED INFORMATION TO BE DISCLOSED ONLY IN ACCORDANCE WITH THE
        UNITED STATES COURT OF FEDERAL CLAIMS PROTECTIVE ORDER

                                                 - 17 -



                                                 A20
Case 1:16-cv-00840-EJD
     Case 1:16-cv-00840-EJD
                        Document
                            Document
                                 41-2 *SEALED*
                                       43-2 Filed 11/01/18
                                                  Filed 11/01/18
                                                            Page 21
                                                                 Page
                                                                    of 35
                                                                       21 of 35




          Subject to and without waiving Plaintiffs foregoing general and specific objections,

   Plaintiff will exercise reasonable diligence to locate and produce any non-privileged documents

   within its possession, custody, or control consisting of written communications exchanged

   between Plaintiff and the Navy regarding the licensing and/or resale of BS Contact Geo to the

   United States Government.

          REQUEST NO. 19:

           All correspondence, other documents, or electronically stored information between
   Plaintiff and Planet 9 Studios, Inc.

          RESPONSE TO REQUEST NO. 19:

          Plaintiff objects to Request No. 18 on the grounds that the phrase "information between

   Plaintiff and Planet 9 Studios, Inc." is vague, ambiguous, overbroad, and unduly burdensome.

   Plaintiff will construe "information between Plaintiff and Planet 9 Studios, Inc." to mean written

   communications exchanged between the Plaintiff and Planet 9 Studios, Inc. Plaintiff further

   objects to Request No. 19 on the grounds that a request for "All correspondence, other

  documents, or electronically stored information between Plaintiff and Planet 9 Studios, Inc." is

  overbroad, unduly burdensome, and not reasonable calculated to lead to admissible evidence.

  Plaintiff further objects to Request No. 19 on the grounds that it is duplicative of Request No. 11 .

          Subject to and without waiving Plaintiffs foregoing general and specific objections,

  Plaintiff will exercise reasonable diligence to locate and produce any non-privileged documents

  within its possession, custody, or control consisting of written communications exchanged

  between Plaintiff and Planet 9 Studios, Inc. regarding the licensing and/or resale of BS Contact

  Geo to the United States Government.




   PROTECTED INFORMATION TO BE DISCLOSED ONLY IN ACCORDANCE WITH THE
        UNITED STATES COURT OF FEDERAL CLAIMS PROTECTIVE ORDER

                                                 - 18 -



                                                 A21
Case 1:16-cv-00840-EJD
     Case 1:16-cv-00840-EJD
                        Document
                            Document
                                 41-2 *SEALED*
                                       43-2 Filed 11/01/18
                                                  Filed 11/01/18
                                                            Page 22
                                                                 Page
                                                                    of 35
                                                                       22 of 35




          REQUEST NO. 20:

           All correspondence, other documents, or electronically stored information between
   Plaintiff and Synergy Software Design.

          RESPONSE TO REQUEST NO. 20:

          Plaintiff objects to Request No. 18 on the grounds that the phrase "information between

   Plaintiff and Synergy Software Design" is vague, ambiguous, overbroad, and unduly

   burdensome. Plaintiff will construe "information between Plaintiff and Synergy Software

   Design" to mean written communications exchanged between the Plaintiff and Synergy Software

   Design. Plaintiff objects to Request No. 20 on the grounds that a request for "All

  correspondence, other documents, or electronically stored information between Plaintiff and

  Synergy Software Design" is overbroad, unduly burdensome, and not reasonable calculated to

  lead to admissible evidence. Plaintiff further objects to Request No. 20 on the grounds that it is

  duplicative of Request No. 11.

          Subject to and without waiving Plaintiffs foregoing general and specific objections,

  Plaintiff will exercise reasonable diligence to locate and produce any non-privileged documents

  within its possession, custody, or control consisting of written communications exchanged

  between Plaintiff and Synergy Software Design regarding the licensing and/or resale of BS

  Contact Geo to the United States Government.

          REQUEST NO. 21 :

         All documents and ESI, including press releases and advertising, in which Plaintiff cited
  the Navy's actual or potential use of Plaintiffs products or services.

          RESPONSE TO REQUEST NO. 21:

          Plaintiff objects to Request No. 21 on the grounds that a request for "All documents and

  ESI" is overbroad and unduly burdensome. Plaintiff further objects to Request No. 21 to the

   PROTECTED INFORMATION TO BE DISCLOSED ONLY IN ACCORDANCE WITH THE
        UNITED STATES COURT OF FEDERAL CLAIMS PROTECTIVE ORDER

                                                 - 19 -



                                                 A22
Case 1:16-cv-00840-EJD
     Case 1:16-cv-00840-EJD
                        Document
                            Document
                                 41-2 *SEALED*
                                       43-2 Filed 11/01/18
                                                  Filed 11/01/18
                                                            Page 23
                                                                 Page
                                                                    of 35
                                                                       23 of 35




   extent any such press releases and advertising are publicly available or obtainable from some

   other source that is less burdensome or less expensive.

          Subject to and without waiving Plaintiffs foregoing general and specific objections,

   Plaintiff will exercise reasonable diligence to locate and produce any non-privileged documents

  within its possession, custody, or control.

          REQUEST NO. 22:

         All documents and ESI relating to licenses for software between Plaintiff and any of the
  following organizations: Penn State University, the University of Western Australia, Lockheed
  Martin, Daimler, Intel, IBM, Deutsche Telekom, Audi, Volkswagen, Bosch, Siemens, and the
  Department of Public Works for the Queensland Government.

          RESPONSE TO REQUEST NO. 22:

          Plaintiff objects to Request No . 22 on the grounds that a request for "All documents and

  ESI" is overbroad and unduly burdensome. Plaintiff further objects to Request No. 22 to the

  extent that it seeks documents that are privileged or otherwise protected from discovery by the

  attorney-client privilege, work product doctrine, or other applicable privilege or immunity.

  Plaintiff further objects to Request No. 22 on the grounds that documents or ESI relating to

  licenses for software programs other than BS Contact Geo are not relevant to the issues in this

  dispute and it is not reasonably calculated to lead to the discovery of admissible evidence.

  Plaintiff further objects to Request No. 22 to the extent that it seeks the protected personal data

  of third parties.

          Subject to and without waiving Plaintiffs foregoing general and specific objections,

  Plaintiff will exercise reasonable diligence to locate and produce any non-privileged documents

  within its possession, custody, or control consisting oflicenses for BS Contact Geo with the

  above organizations.


   PROTECTED INFORMATION TO BE DISCLOSED ONLY IN ACCORDANCE WITH THE
        UNITED STATES COURT OF FEDERAL CLAIMS PROTECTIVE ORDER

                                                 - 20 -



                                                  A23
Case 1:16-cv-00840-EJD
     Case 1:16-cv-00840-EJD
                        Document
                            Document
                                 41-2 *SEALED*
                                       43-2 Filed 11/01/18
                                                  Filed 11/01/18
                                                            Page 24
                                                                 Page
                                                                    of 35
                                                                       24 of 35




          REQUEST NO. 23:

          All documents and ESI concerning the valuation of BS Contact Geo.

          RESPONSE TO REQUEST NO. 23:

          Plaintiff objects to Request No. 23 on the grounds that the terms "concerning" and

   "valuation" are not defined by Defendants, are vague, ambiguous, and capable of inconsistent

   interpretations. Plaintiff further objects on the grounds that the request as written is confusing

   and fails to describe the categories of documents requested with reasonable particularity.

   Plaintiff will construe the phrase "concerning the valuation of BS Contact Geo" to mean a

   valuation analysis of BS Contact Geo performed by or at the direction of Plaintiff. Plaintiff

   further objects to Request No . 23 on the grounds that a request for "All documents and ESI" is

  overbroad and unduly burdensome. Plaintiff further objects to Request No . 23 as premature to

  the extent it seeks expert discovery regarding the valuation of BS Contact Geo. Plaintiff further

  objects to Request No. 23 to the extent it is duplicative of Request Nos. 24, 25, and 28.

          Subject to and without waiving Plaintiffs foregoing general and specific objections,

  Plaintiff will exercise reasonable diligence to locate and produce any non-privileged documents

  within its possession, custody, or control consisting of valuation analyses of BS Contact Geo

  performed by or at the direction of Plaintiff.

          REQUEST NO. 24:

          All documents and ESI relating to budgets, projected revenues and expenses, projected
  sales, projected profits, or other forecasts of operations relating to BS Contact Geo.

          RESPONSE TO REQUEST NO. 24:

          Plaintiff objects to Request No. 24 on the grounds that a request for "All documents and

  ESI" is overbroad and unduly burdensome. Plaintiff further objects to Request No. 24 on the



   PROTECTED INFORMATION TO BE DISCLOSED ONLY IN ACCORDANCE WITH THE
        UNITED STATES COURT OF FEDERAL CLAIMS PROTECTIVE ORDER

                                                   - 21 -



                                                   A24
Case 1:16-cv-00840-EJD
     Case 1:16-cv-00840-EJD
                        Document
                            Document
                                 41-2 *SEALED*
                                       43-2 Filed 11/01/18
                                                  Filed 11/01/18
                                                            Page 25
                                                                 Page
                                                                    of 35
                                                                       25 of 35




   grounds that the phrase "other forecasts of operations" is vague, ambiguous, and capable of

   inconsistent interpretations. Plaintiff further objects to Request No. 24 on the grounds that

   "budgets, projected revenues and expenses, projected sales, [and] projected profits" are not

   relevant to the issues and dispute and are not calculated to lead to the discovery of admissible

   evidence. Plaintiff further objects to Request No. 24 to the extent it is duplicative of Request No.

   23 .

          Subject to and without waiving Plaintiffs foregoing general and specific objections,

   Plaintiff will exercise reasonable diligence to locate and produce any non-privileged documents

   within its possession, custody, or control consisting of Plaintiffs budgets and projected sales,

  , revenues, expenses, and profits for BS Contact Geo.

          REQUEST NO. 25:

         All audited and un-audited income statements, balance sheets, and statements of cash
  flows on a monthly, quarterly, and annual basis that relate to BS Contact Geo.

          RESPONSE TO REQUEST NO. 25:

          Plaintiff objects to Request No. 25 on the grounds that a request for "all" of

  Bitmanagement' s income statements, balance sheets, and statements of cash flows is overbroad,

  unduly burdensome, and not calculated to lead to the discovery of admissible evidence.

          Subject to and without waiving Plaintiffs foregoing general and specific objections,

  Plaintiff will exercise reasonable diligence to locate and produce any non-privileged documents

  within its possession, custody, or control including Plaintiffs annual income statements, balance

  sheets, and cash flow statements that specifically relate to BS Contact Geo.

          REQUEST NO. 26:

         All documents and ESI sufficient to identify Plaintiffs policies or practices for the
  maintenance, destruction, or retention of documents or files.

   PROTECTED INFORMATION TO BE DISCLOSED ONLY IN ACCORDANCE WITH THE
        UNITED STATES COURT OF FEDERAL CLAIMS PROTECTIVE ORDER

                                                  - 22 -



                                                  A25
Case 1:16-cv-00840-EJD
     Case 1:16-cv-00840-EJD
                        Document
                            Document
                                 41-2 *SEALED*
                                       43-2 Filed 11/01/18
                                                  Filed 11/01/18
                                                            Page 26
                                                                 Page
                                                                    of 35
                                                                       26 of 35




           RESPONSE TO REQUEST NO. 26:

           Plaintiff objects to Request No. 26 to the extent that it seeks documents that are

   privileged or otherwise protected from discovery by the attorney-client privilege, work product

   doctrine, or other applicable privilege or immunity.

           Subject to and without waiving Plaintiffs foregoing general and specific objections,

   Plaintiff will exercise reasonable diligence to locate and produce any non-privileged documents

   within its possession, custody, or control sufficient to identify Plaintiffs polices or practices for

   the maintenance, destruction, or retention of documents.

          REQUEST NO. 27:

           All documents and ESI relating to the corporate, business, and organizational structure of
   Plaintiff.

          RESPONSE TO REQUEST NO. 27:

          Plaintiff objects to Request No. 27 on the grounds that a request for "All documents and

  ESI" is overbroad and unduly burdensome.

          Subject to and without waiving Plaintiffs foregoing general and specific objections,

  Plaintiff will exercise reasonable diligence to locate and produce any non-privileged documents

  within its possession, custody, or control.

          REQUEST NO. 28:

          Documents and ESI sufficient to demonstrate the actual money received by Plaintiff for
  each copy of BS Contact Geo sold or otherwise delivered to any organization other than another
  unit of Plaintiff.




   PROTECTED INFORMATION TO BE DISCLOSED ONLY IN ACCORDANCE WITH THE
        UNITED STATES COURT OF FEDERAL CLAIMS PROTECTIVE ORDER

                                                   - 23 -



                                                   A26
Case 1:16-cv-00840-EJD
     Case 1:16-cv-00840-EJD
                        Document
                            Document
                                 41-2 *SEALED*
                                       43-2 Filed 11/01/18
                                                  Filed 11/01/18
                                                            Page 27
                                                                 Page
                                                                    of 35
                                                                       27 of 35




          RESPONSE TO REQUEST NO. 28:

          Plaintiff objects to Request No. 28 on the grounds that an accounting of "each copy" sold

   is overbroad and unduly burdensome. Plaintiff further objects to Request No . 28 to the extent

   that the documents sought are already in the possession, custody, or control of Defendant.

          Subject to and without waiving Plaintiffs foregoing general and specific objections,

  Plaintiff will exercise reasonable diligence to locate and produce any non-privileged documents

  within its possession, custody, or control consisting of invoices or receipts that are sufficient to

  demonstrate the actual money Plaintiff received for sales of BS Contact Geo .

                                                      Respectfully submitted,




                                                      CARL NI<PfoiJS
                                                      Counsel of Record
                                                      WILMER CUTLER PICKERING
                                                      HALE AND DORR LLP
                                                      1875 Pennsylvania Avenue, N .W.
                                                      Washington, DC 20006
                                                      Telephone: (202) 663 -6000
                                                      Facsimile: (202) 663 -6363
                                                      Email : carl.nichols@wilmerhale.com

                                                      Of Counsel
                                                      BARRY J. HUREWITZ
                                                      ADAM RAVIV
                                                      DAVID G. BERAKA
                                                      MATTHEW J. WORTHINGTON
                                                      WILMER CUTLER PICKERING
                                                      HALE AND DORR LLP
                                                      1875 Pennsylvania Avenue, N .W.
                                                      Washington, DC 20006
                                                      Telephone: (202) 663 -6000
                                                      Facsimile: (202) 663 -6363
                                                      Email: barry.hurewitz@wilmerhale.com
                                                             adam.raviv@wilmerhale.com


   PROTECTED INFORMATION TO BE DISCLOSED ONLY IN ACCORDANCE WITH THE
        UNITED STATES COURT OF FEDERAL CLAIMS PROTECTIVE ORDER

                                                  - 24 -



                                                  A27
Case 1:16-cv-00840-EJD
     Case 1:16-cv-00840-EJD
                        Document
                            Document
                                 41-2 *SEALED*
                                       43-2 Filed 11/01/18
                                                  Filed 11/01/18
                                                            Page 28
                                                                 Page
                                                                    of 35
                                                                       28 of 35




                                                david.beraka@wilrnerhale.com
                                                matt. worthington@wilrnerhale.com




                                         Counsel for Plaintiff Bitmanagement Software
                                         GmbH


  Dated: March 6, 2017




   PROTECTED INFORMATION TO BE DISCLOSED ONLY IN ACCORDANCE WITH THE
        UNITED STATES COURT OF FEDERAL CLAIMS PROTECTIVE ORDER

                                     - 25 -



                                     A28
Case 1:16-cv-00840-EJD
     Case 1:16-cv-00840-EJD
                        Document
                            Document
                                 41-2 *SEALED*
                                       43-2 Filed 11/01/18
                                                  Filed 11/01/18
                                                            Page 29
                                                                 Page
                                                                    of 35
                                                                       29 of 35




                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 6th day of March, 201 7, I served the foregoing on Scott

   Bolden and Michel Souaya via email pursuant to Court of Federal Claims Rule 5(b )(2)(E).

                 scott. bolden@usdoj .gov
                 michel.e.souaya@usdoj.gov




                                                     DAVID G. BERAKA

                                                     WILMER CUTLER PICKERING
                                                     HALE AND DORR LLP
                                                     1875 Pennsylvania Avenue, N .W.
                                                     Washington, D.C. 20006
                                                     Telephone: (202) 663 -6000
                                                     Facsimile : (202) 663 -6363
                                                     Email : david.beraka@wilmerhale.com




                                                 - 26 -



                                                 A29
     Case 1:16-cv-00840-EJD
          Case 1:16-cv-00840-EJD
                             Document
                                 Document
                                      41-2 *SEALED*
                                            43-2 Filed 11/01/18
                                                       Filed 11/01/18
                                                                 Page 30
                                                                      Page
                                                                         of 35
                                                                            30 of 35


                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS


 BITMANAGEMENT SOFTWARE GMBH,

                          Plaintiff,                Case No. 16-840 C
                 v.
                                                    Senior Judge Edward J. Damich
 THE UNITED STATES OF AMERICA,

                          Defendant.



                          PLAINTIFF’S PRELIMINARY PROPOSED
                      FINDINGS OF FACT AND CONCLUSIONS OF LAW

         In accordance with the Court’s Trial Preparation Order, Dkt. 40, Plaintiff Bitmanagement

Software GmbH hereby serves the following preliminary proposed findings of fact and

conclusions of law. Plaintiff reserves the right to propose additional or amended findings of fact

and conclusions of law.

                                PROPOSED FINDINGS OF FACT

I.       Background

         A.     The Parties

1.       Plaintiff Bitmanagement Software GmbH (“Bitmanagement”) is a German corporation

         headquartered in Berg, Germany that develops software for rendering three-dimensional

         computer graphics. (Testimony of Peter Schickel; P006; P019; P021.)

2.       Peter Schickel serves as Bitmanagement’s CEO. Bitmanagement also employs other

         personnel. (Testimony of Peter Schickel; P006; P009; P019.)

3.       Defendant is the United States of America (“Government”), which encompasses, inter

         alia, the United States Department of Defense, the United States Department of the Navy

         (the “Navy”), and the Naval Facilities Engineering Command (“NAVFAC”). These




                                                1

                                                A30
  Case 1:16-cv-00840-EJD
       Case 1:16-cv-00840-EJD
                          Document
                              Document
                                   41-2 *SEALED*
                                         43-2 Filed 11/01/18
                                                    Filed 11/01/18
                                                              Page 31
                                                                   Page
                                                                      of 35
                                                                         31 of 35


      central server: “It typically deals with software running in the server where users connect

      via the network.” (P083; P203.)

17.   The term “floating license” is not typically used in the software licensing industry and

      does not have a defined or commonly understood meaning. (Testimony of Peter

      Schickel; Testimony of George Graff; P017; P020; P060; P203.)

18.   PC or seat licenses are the most common type of software licenses, while concurrent

      licenses are rare. (Testimony of Peter Schickel; Testimony of George Graff; P231.)

19.   In the absence of an express agreement granting additional rights, a software license is

      understood to be a PC or seat license that grants the licensee the right to install a single

      copy of the software onto one computer. (Testimony of Peter Schickel; Testimony of

      George Graff.)

20.   This is in accord with the Government’s software licensing practices, which indicate that

      “PC” or “seat” licenses are standard license type and are more commonly used than

      “concurrent use” licenses. The Department of Defense defines a “per seat” license as a

      “traditional software license.” (Testimony of George Graff; P200.)

      C.     Bitmanagement’s Advanced “BS Contact Geo” 3D Rendering Software

21.   Since its founding in 2002, Bitmanagement has developed and published specialized

      computer software for rendering and viewing three-dimensional graphics. (Testimony of

      Peter Schickel; P019; P021; P170; P192; P210; P225.)

22.   In addition to publishing software, Bitmanagement also provides ongoing technical

      support services for its customers for a fee. (Testimony of Peter Schickel; P171; P176;

      P179; P180; P182.)

23.   Bitmanagement’s “core product” is BS Contact, a basic three-dimensional data renderer

      and viewer. Bitmanagement released BS Contact shortly after the company’s founding in


                                                5

                                                 A31
  Case 1:16-cv-00840-EJD
       Case 1:16-cv-00840-EJD
                          Document
                              Document
                                   41-2 *SEALED*
                                         43-2 Filed 11/01/18
                                                    Filed 11/01/18
                                                              Page 32
                                                                   Page
                                                                      of 35
                                                                         32 of 35


      2002 and has continued to release new versions since 2002. (Testimony of Peter

      Schickel; P019; P021; P070; P171; P210.)

24.   BS Contact Geo is an interactive, advanced version of Bitmanagement’s BS Contact

      software that allows for rendering and viewing of three-dimensional geospatial data

      contained within various 3D graphics data formats, including X3D and VRML.

      “Geospatial data” refers to geographic information associated with a specific location,

      such as a road map tied to geographic coordinates. BS Contact Geo is based on

      Bitmanagement’s less advanced BS Contact software, which does not include geospatial

      functionality. (Testimony of Peter Schickel; Testimony of George Graff; P009; P070;

      P121; P122; P170; P171; P184; P210; P230.)

25.   As Bitmanagement describes on its public website, BS Contact Geo “enables the

      visualization of geographic information in third-party hardware and software products.

      The software is expanded and is focus[ing] on the special requirements of the GIS

      community using ISO standard compliant formats like CityGML and Geo-nodes.”

      (Testimony of Peter Schickel; Testimony of George Graff; P009; P019; P121; P122;

      P171; P184; P230.)

26.   BS Contact Geo offers customers “very specific geospatial functions” and can render

      photorealistic terrain and city models. BS Contact Geo may also be used for architecture

      visualizations and interactive urban development planning. Bitmanagement first released

      BS Contact Geo in 2006 and has since offered numerous versions for sale to the public.

      Sample screenshots from BS Contact Geo are provided below, which illustrate its

      capabilities:




                                               6

                                              A32
  Case 1:16-cv-00840-EJD
       Case 1:16-cv-00840-EJD
                          Document
                              Document
                                   41-2 *SEALED*
                                         43-2 Filed 11/01/18
                                                    Filed 11/01/18
                                                              Page 33
                                                                   Page
                                                                      of 35
                                                                         33 of 35


      sold one BS Contact Geo subdomain license to Saudi Aramco in 2013 for €15,000 with

      the understanding that 5-10 computers would install the software, equating to €1,500 per

      PC or seat. (Testimony of Peter Schickel; Testimony of George Graff; P011; P019;

      P070; P074; P171.)

43.   Bitmanagement does not sell concurrent use licenses of BS Contact Geo.

      Bitmanagement has never offered concurrent use licenses for sale, nor has it ever

      discussed providing concurrent use licenses to any customers. (Testimony of Peter

      Schickel; P011; P019; P171.)

44.   In its marketing, Bitmanagement promotes BS Contact Geo as providing a collaborative,

      interactive environment where multiple users can view the same content at the same time.

      This is because numerous computers, each with a BS Contact Geo PC or seat license, can

      access and view the same three-dimensional content at the same time. Bitmanagement’s

      marketing materials refer to “concurrent” use to explain how multiple users can

      simultaneously, or concurrently, view and interact with the same content. (Testimony of

      Peter Schickel; P019; P031; P033; P215.)

45.   Bitmanagement has sold BS Contact Geo licenses to numerous customers. These

      customers include large institutional customers, including the United States Navy, the

      Australian Government, and Saudi Aramco. (Testimony of Peter Schickel, Testimony of

      George Graff; P038; P067; P090; P176; P179; P180; P182.)

46.   Bitmanagement has also sold licenses of its software—including licenses of programs

      other than BS Contact Geo—to other customers, including NASA, the Naval

      Postgraduate School, Virginia Polytechnic Institute (Virginia Tech University), Daimler




                                              11

                                               A33
 Case 1:16-cv-00840-EJD
      Case 1:16-cv-00840-EJD
                         Document
                             Document
                                  41-2 *SEALED*
                                        43-2 Filed 11/01/18
                                                   Filed 11/01/18
                                                             Page 34
                                                                  Page
                                                                     of 35
                                                                        34 of 35


      AG, and Ewicom AG. (Testimony of Peter Schickel, Testimony of George Graff, P043;

      P098.)

47.   Bitmanagement still offers BS Contact Geo licenses for sale to this day. Bitmanagement

      continues to develop other software programs as well. (Testimony of Peter Schickel;

      P210; P230.)

      D.       The Navy’s Reliance on BS Contact Geo for SPIDERS 3D and other
               Purposes

48.   The Navy relies upon Bitmanagement’s BS Contact Geo software in its proprietary

      enterprise-wide “SPIDERS 3D” computer engineering interface. (Testimony of Peter

      Schickel; P017; P020; P025; P104; P121; P122; P184; P215; P216; P229.)

49.   SPIDERS 3D is a web-based platform that provides a virtual reality environment for

      NAVFAC engineers and technicians to view and optimize configurations of Navy

      installations, bases, and facilities. Sample screenshots of SPIDERS 3D containing BS

      Contact Geo renderings are shown below:




                                            12

                                             A34
      Case 1:16-cv-00840-EJD
           Case 1:16-cv-00840-EJD
                              Document
                                  Document
                                       41-2 *SEALED*
                                             43-2 Filed 11/01/18
                                                        Filed 11/01/18
                                                                  Page 35
                                                                       Page
                                                                          of 35
                                                                             35 of 35


Dated: September 28, 2018    Respectfully submitted,

                             Attorneys for Plaintiff

                             /s/ Brent J. Gurney
                             Brent J. Gurney
                             Adam Raviv
                             Leon Kenworthy
                             Michael Carpenter
                             Wilmer Cutler Pickering Hale and Dorr LLP
                             1875 Pennsylvania Ave., N.W.
                             Washington, D.C. 20006
                             Telephone: (202) 663-6000
                             Facsimile: (202) 663-6363
                             Email: brent.gurney@wilmerhale.com
                                     adam.raviv@wilmerhale.com
                                     leon.kenworthy@wilmerhale.com
                                     michael.carpenter@wilmerhale.com

                             Allison Trzop
                             Wilmer Cutler Pickering Hale and Dorr LLP
                             7 World Trade Center
                             250 Greenwich Street
                             New York, NY 10007
                             Telephone: (212) 230-8800
                             Facsimile: (212) 230-8888
                             Email: allison.trzop@wilmerhale.com

                             Counsel for Bitmanagement Software GmbH




                                       67

                                              A35
